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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

ROBERT LEVANDER                                      Case No. 2:08-cv-14241

       Plaintiff,                                    Hon: David M. Lawson
-vs-

I.C. SYSTEM, INC., and
JOHN DOE,

       Defendants.
Rex C. Anderson (P47068)                       DOBBS & NEIDLE, P.C.
Attorney for Plaintiff                         Daniel J. Ammon (P50923)
9459 Lapeer Rd, Suite 101                      Gregory R. Neidle (P59273)
Davison, MI 48423                              Attorneys for Defendants
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                                               (248) 723-9511
Brian P. Parker (P48617)                       dammon@dobbsneidle.com
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        PLAINTIFF’S MOTION FOR LEAVE TO SUPPLEMENT
PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION TO LIMIT DAMAGES
                  AND TO STAY PROCEEDINGS


       NOW COMES Plaintiff ROBERT LEVANDER, by and through his attorney and

hereby requests leave to supplement his Response to Defendant's Motion to Limit

Damages and to Stay Proceedings for the following reason:

       1.      Plaintiff has discovered case law supporting that attorney fees in FDCPA

cases are not part of the bankruptcy estate;

       2.      To cite case law regarding the trustee's failure to object to exemptions

precludes property as belonging to bankruptcy estate and;
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       3.        That a debtor who exempts full amount of the property value intends to

exempt 100% even if the value turns out to be greater.

       4.        No party will be prejudiced by Plaintiff supplementing his response.

       5.        Pursuant to Local Rule 7.1, counsel for Plaintiff spoke with defense

counsel on Tuesday, April 28, 2009, seeking concurrence in the relief requested in this

Motion and concurrence was denied.

       WHEREFORE, Plaintiff requests this Honorable Court grant Plaintiff leave to

supplement his response to Defendant's Motion to Limit Damages and to Stay

Proceedings.

                                                      Respectfully submitted
                                                      REX ANDERSON PC
April 30, 2009                                        By: /s/ Rex C. Anderson____
                                                      Rex C. Anderson, Esq. (P47068)
                                                      Attorney for Plaintiff
                                                      9459 Lapeer Rd
                                                      Davison MI 48423
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                                  CERTIFICATE OF SERVICE

I hereby certify that on April 28, 2009 a copy of the above document was filed with the Clerk of
the Court using the Court's ECF filing system which will send notification of the filing to the
following:

Daniel J. Ammon - dammon@dobbsneidle.com
Gregory R. Neidle - gneidle@dobbsneidle.com
Brian P. Parker - lemonlaw@ameritech.com
                                                      __/s/ Rex C. Anderson___________
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